                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TENNESSEE

   UNITED STATES OF AMERICA,                            )
   Plaintiff                                            )
                                                        )
   vs.                                                  )       No. 3:16-CR-20
                                                        )       (Collier/Guyton)
   MARK HAZELWOOD et al.,                               )
   Defendant                                            )


                 SUPPLEMENTAL MOTION TO RESET TERMS OF RELEASE

          Mark Hazelwood, through counsel, respectfully requests that the Court restore the pretrial

   conditions of release, which this Court set (with the government’s consent) on February 9, 2016

   today. Specifically, we request that the Court (a) free Mr. Hazelwood of location restriction and

   monitoring; (b) remove the property bond on his residence; and (c) return him to his pretrial travel

   conditions.

          Mr. Hazelwood previously filed a Motion to Reset Terms of Release on October 17, 2020

   (ECF No. 954) (the “October 17 Motion”) after the Sixth Circuit reversed his conviction. That

   motion is still pending. Thereafter, the government filed a reply (ECF No. 955) on October 30,

   2020, that temporarily opposed Mr. Hazelwood’s October 17 Motion.                 The government

   acknowledged that the Sixth Circuit’s reversal “vitiate[s] the rationale supporting Hazelwood’s

   home confinement . . .” but asks for that term—home confinement—to remain in place while it

   engages in a “deliberative process” concerning whether to seek appeal. The government then filed

   a petition for rehearing with the Sixth Circuit. This morning the Sixth Circuit denied the

   government’s petition for rehearing making final the Sixth Circuit’s reversal of Mr. Hazelwood’s

   convictions, and “the government does not object to the entry of an order returning [Mr.]

   Hazelwood to his previously ordered pretrial conditions of release.”




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          Given that Mr. Hazelwood’s conviction has now been vacated and he is again presumed

   innocent, the bail conditions that were initially imposed upon Mr. Hazelwood in February 2016

   (and with which he was entirely compliant) should be reimposed immediately.

      As previously noted, Mr. Hazelwood has unblemished track record of—not mere compliance

   with—scrupulous and careful cooperation with Pretrial Services. Mr. Hazelwood has earned the

   trust of the Pretrial Services officers, and the facts surrounding his compliance over such a long

   period should weigh heavily toward restoration.

      Counsel for the government have advised that in light of the Sixth Circuit’s Order denying the

   petition for rehearing, the government does not object to the entry of an order returning Defendant

   Hazelwood to his previously ordered pretrial conditions of release, and otherwise defers to the

   discretion of the Court.

          We respectfully ask the Court, based on our previous filings, the principles of fairness,

   supporting precedent, and now, the consent of the government to grant our Motion to Restore

   Conditions of Release (ECF No. 954) and restore Mr. Hazelwood to his pre-conviction terms of

   release today.

   DATED:           Knoxville, Tennessee
                    December 30, 2020

                                                         Respectfully submitted,

                                                         s/ Bradley L. Henry_________________
                                                         Bradley L. Henry (TN Bar No. 025447)
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                                                         s/ Jim Walden _________________
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                                  CERTIFICATE OF SERVICE

          I hereby certify that, on December 30, 2020, a true and correct copy of the foregoing
   document was filed on CM/ECF with the U.S. District Court for the Eastern District of Tennessee.
   Notice of this filing was served on all CM/ECF parties.

                                                      /s/ Bradley L. Henry




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